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EXHIBIT 13
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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

JOSEPH MANTHA on behalf of
themselves and others

Similarly situated,
Plaintiff,
No. 1:19-cv-12235

vs.

QUOTEWIZARD.COM, LLC,

—-—~S—S—S ~Se Ser Ew er LP Se _ _—

Defendant.

*

VIDEOTAPED ZOOM 30(b) (6) DEPOSITION
UPON ORAL EXAMINATION OF
MATTHEW WEEKS
QUOTEWIZARD.COM, LLC

2:46 P.M. (EST)

JULY 22, 2020
SEATTLE, WASHINGTON

REPORTED BY: CHERYL O. SPRY, CCR No. 2226

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] APPEARANCES 1 SEATTLE, WASHINGTON; JULY 22, 2020
2 (All participants appeared remotely.) 2 2:46 P.M. (EST)
3 3 --000--
4 FOR THE PLAINTIFF: 4 THE VIDEOGRAPHER: Weare on the record at
5 EDWARD A. BRODERICK 5 2:46 p.m. in the Eastern Time Zone.
6 Broderick Law, P.C. 6 Today is July 22nd, 2020. We are here for the
7 176 Federal Street, Fifth Floor 7 video deposition of QuoteWizard.com represented by
8 Boston, Massachusetts 02110 8 Matthew Weeks, being taken by counsel for the plaintiff
9 617.738.7080 9 in the matter of Joseph Mantha versus QuoteWizard.com.
10 ted@broderick-law.com 10 This case is filed in the U.S. District Court
11 11 for the District of Massachusetts. The case number is
12. FOR THE DEFENDANT: 12 1:19-ev-12235,
13 KEVIN POLANSKY 13 This deposition is being conducted remotely.
14 Nelson Mullins Riley & Scarborough 14. My name is Michael Takos from the firm Veritext, and I'n
15 One Post Office Square, 30th Floor 1§ the videographer. The court reporter is Cheryl Spry
16 Boston, Massachusetts 02109 16 from the firm Veritext.
17 617.217.4720 17 Counsel, please identify yourselves and state
18 kevin.polansky@nelsonmullins.com 18 whom you represent. If there are any objections to the
19 19 proceeding, please state them at the time of your
20 ALSO PRESENT: 20 appearance.
21 MICHAEL TAKOS, Videographer 21 MR. BRODERICK: This is Edward Broderick for
22 22 the plaintiff.
23 23 MR. POLANSKY: This is Kevin Polansky on
24 24 behalf of the defendant, QuoteWizard.com, LLC.
25 25 THE VIDEOGRAPHER: Will the court reporter
Page 3 Page 5
1 INDEX 1 please swear in the witness.
2 2 MATTHEW WEEKS,
3. EXAMINATION BY: PAGE 3 sworn as a witness by the Certified Court Reporter,
4 MR. BRODERICK 5 4 testified as follows:
5 MR. POLANSKY 63 5 EXAMINATION
6 MR. BRODERICK 69 6 BY MR. BRODERICK:
7 EXHIBITS FOR IDENTIFICATION PAGE 7 Q. Okay. Thanks for being here, Mr. Weeks.
8 Exhibit 1 7/14/2020 Notice of Rule 30(b)(6) of 7 8 Obviously, we met off the record, but my name is Ted
9 QuoteWizard.com, LLC 9 Broderick and I represent the plaintiff, Joe Mantha.
10 Exhibit 2 QuoteWizard Opt In 19 10 The first thing I'm going to do is show you an
11 Exhibit 3 5/18/2020 Defendant's Responses to 4] 11 exhibit, which is the notice of this deposition. Let's
12 Plaintiff's First Set of 12 see if I can do this correctly.
13 Interrogatories 13 There. Do you see that?
14 Exhibit 4 RevPoint Subpoena Response Combined. 4] 14 A. I'm looking in the --
15 Exhibit 5 IP Subpoena for RevPoint - tracks to 45 15 Q. In the “Marked Exhibits."
16 Guerrero 16 A. Let me refresh and see if it shows up. I
17 Exhibit 6 Plural Response to Mantha Subpoena 46 17 still only see the Verizon IP.
18 Exhibit 7 Verizon IP June 26, 2019 $2 18 Q. Maybe go out of the doc -- out of the folder
19 Exhibit 8 Jornaya Subpoena response 59 19 — and back in.
20 20 A. Yeah.
21 21 MR. POLANSKY: Matthew, double click on the
22 22 ~=document again to refresh.
23 23 A. Yeah, I see the -- now I see the notice of
24 24  30¢b)(6) PDF.
25 25 Q. (BY MR. BRODERICK:) And Mr. Weeks, could you

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2 (Pages 2 - 5)
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1 state your name, full name for the record and your job 1 MR. POLANSKY: Objection.
2 title? 2 You can answer, if you know,
3 A. Matthew Weeks. And I am senior manager of 3 A. Thavea very high-level understanding of it,
4 data partnerships for QuoteWizard. 4 not -- you know, by no means an expert on TCPA.
5 Q. Okay. And do you recognize that notice of 5 Q. (BY MR. BRODERICK:) That's fine. What's your
6  30(b)(6) QuoteWizard document? 6 understanding of the TCPA?
7 A. Iwas -- yes, I do. 7 A. It's the set of guidelines that telemarketers
8 Q. Okay. And are you - are you designated to 8 have to abide by in order to obey the law.
9 testify on behalf of QuoteWizard as to all topics listed. 9 Q. Okay. And what's your understanding of the
10 in that document? 10 consent required to call someone whose telephone number
11 A. Yes. 11 is listed on the National Do Not Call Registry?
12 Q. And what did you do to prepare for this 12 MR. POLANSKY: Objection.
13 deposition? 13 You can answer,
14 A. I went back through my calendar to refresh 14 A. My understanding, I mean, if someone is on the
15. myself on some dates, as well as check some emails. 15 Do Not Call directory, a company should not call them,
16 Q. Did you speak with any other employees of 16 THE VIDEOGRAPHER: Counsel, could we go off
17) QuoteWizard? 17 the record briefly? I want to see if we can get your
18 A. I did not. 18 ~~ microphone turned up.
19 Q. And before you answered interrogatories as 19 MR. BRODERICK: Sure.
20 they pertain to Mr. Mantha's alleged consent to receive 20 THE VIDEOGRAPHER: Going off record. The time
21 calls by or on behalf of QuoteWizard, did you talk to 21 now is 2:54 p.m,
22. other employees when you were answering interrogatories? 22 {Discussion off the record.)
23 A. I did not. 23 THE VIDEOGRAPHER: We are back on record.
24 Q. And do you understand that your testimony is 24 It's 2:55 p.m.
25 on behalf of QuoteWizard in each of the topics in that 25 Q. (BY MR. BRODERICK:) Mr. Weeks, does
Page 7 Page 9
1 30(b)(6} notice’? 1 QuoteWizard claim that Mr. Mantha provided his prior
2 A. Ido, 2 expressed written consent to receive text messages from
3 MR. BRODERICK: So I'm going to try to move 3. QuoteWizard?
4 this into the "Introduce Exhibit." 4 A. It's our belief that consent was provided,
5 (Deposition Exhibit 1 was marked for 3 yes.
6 identification.) 6 Q. Okay. And can you explain what that belief is
7 MR. BRODERICK: Okay, it looks like that 7 based on?
8 worked. 8 A. The belief is based on information provided to
9 Q. (BY MR. BRODERICK:) What is your 9 us from another company.
10 understanding of Mr. Mantha's claim against Quote Wizard? 10 Q. What are those other companies?
1 A. I don't have much understanding of it. I ll A. That would be RevPoint Media.
12 mean, I seen -- briefly seen the complaint, and that's 12 Q. Okay. And you said "companies" plural. What
13 about it. 13 others?
14 Q. Okay. And do you have any understanding as to 14 A. I said company, singular.
15 restrictions placed on telemarketing by the Telephone 15 Q. Company, okay. Sorry.
16 Consumer Protection Act, which I'll refer to as the 16 And what documents support that claim, that
17) "TCPA"? 17 Mr. Mantha gave prior expressed written consent?
18 MR. POLANSKY: Objection. 18 A. We have a contract with RevPoint that
19 You can answer. 19 explicitly states that they, you know, cannot break the
20 A. Say that again? 20 law and, you know, send us leads that have not been --
21 Q. (BY MR. BRODERICK:) Do you have any 21 you know, have not given consent.
22 understanding of -- the statute that Mr. Mantha is suing 22 We also -- we do not purchase leads that don't
23 under is the Telephone Consumer Protection Act. And I 23. have a Jornaya LeadiD attached to them.
24 was asking if you have any understanding as to what 24 Q. Okay. Any other documents that support that
25 that -- what restrictions that places on telemarketing. 25s claim?
3 (Pages 6 - 9)
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1 MR. POLANSKY: What was that? I couldn't hear 1 A. It's contained in our own database.
2 that. 2 Q. Right. But I wanted to know who put that
3 Q. (BY MR. BRODERICK:} Any other documents that 3. information in this document.
4 support the claim that Mr. Mantha provided prior 4 A. I did.
5 expressed written consent? 3 Q. And you got it from -- you got that Jornaya
6 A. We - there -- when asked to provide -- when 6  LeadiD from RevPoint?
7 this initially came up and we received the complaint and 7 A. No. I got it from our own database.
8 reached out to RewPoint Media to provide the consent 8 Q. How did it get into your database, is my
9 information, and they sent me some things such as the IP 9 question.
10 address of the complainant, and as well as the URL to 10 A. It was sent to us in the data packet with the
11 the consent portion of the website that the complainant 11 original purchase of the lead. We work on a ping post
12 went through. 12 system.
13 Q. Okay. Who was it you spoke to at RevPoint to 13 MR. POLANSKY: He's asking who sent the data
14 collect that information? 14 packet to you.
15 A. His name is Michael Fishman. 15 A. RevPoint sent the data packet to us
16 Q. Did you talk to him on the telephone or did 16 originally.
17 you send him an email? 17 Q. (BY MR. BRODERICK:) Okay. And is there a
18 A. | talked -- email. I mean, I have talked to 18 document -- when you say -- tell me what a ping post
19 him on the phone, not about this, but... 19 system is.
20 Q. Okay. And how did he provide that, that 20 A. So it's how we purchase leads from vendors
21 document that we're discussing to you? Did he email it 21 like RevPoint. We -- it's called ping post. They send
22. to you’? 22 into our system, they ping into our API a portion of
23 A. Yes, email. 23 essentially a lead, a lead without all of the PII
24 MR. POLANSKY: Objection. 24 information.
25 Q. (BY MR. BRODERICK:) Okay. And I'm going to 25 It comes into our system, into our API. Our
Page 11 Page 13
| show you a document now. 1 system takes a look at that -- this is all happening in
2 Okay. In the "Marked Exhibits" folder, do you 2 ~~ milliseconds -- determines whether we have a match for
3. see a document labeled “Quote Wizard Opt In"? 3 that lead.
4 A. Yes. 4 We then, if it matches, if we think -- you
5 Q. Okay. Can you open that document and tell me 5 know, if our system determines that, you know, we have
6 what it is? 6 an agent or a corporate carrier that this lead matches
7 A. This is the report that | compiled after we 7 to, we return a bid to whoever the vendor is; in this
8 received the complaint from Mr. Mantha. 8 case, RevPoint.
9 Q. And you say you compiled this, or was it -- 9 RevPoint then either accepts the bid or
10 well, tell me what you mean by you "compiled" it. 10 rejects the bid. And if they accept the bid, they then
11 A. I mean exactly that, ] compiled it. I reached 11 — send us the rest of the lead details. And that's it.
12 out to RevPoint to get some of the information contained | 12 Q. Okay. You used an acronym "API." What does
13. init, and I included the rest myself from our own 13. that stand for?
14 database. 14 A. You know, I should know that.
15 Q. What information in that document came from 15 Q. It happens a lot.
16 RevPoint? 16 A. I'm nota tech person. It's, you know, it's
17 A. The consumer IP address, the form URL. 17 the acronym for the system. I honestly don't know what
18 Q. Is that it? 18 itis.
19 A. [believe so, yes. 19 Q. Okay. And you also said that it's information
20 Q. And not the Jornaya LeadiD? 20 without a PI. Is that personal information?
21 A. That, like I said earlier, that's -- we don't 21 A. Personal identifying information, the PIT.
22 ~~ accept or buy a lead without a Jornaya LeadiD. So that | 22 Q. PIl. Okay, thank you.
23 sis sent to us at the time, before we even purchase the 23 So what is the -- what is the first -- what
24 lead. So that's our own database. 24 data is in the first ping when you're provided a lead
25 Q. That's your own database? 25 that your system can then make a bid on?
4 (Pages 10 - 13)
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| A. I'm not --I don't know. I'm not sure exactly 1 query to be able to pull up Mr. Mantha’s -- the
2 what all is included in that. 2 information that populated this document?
3 Q. Okay. Do you know if consent has to be 3 A. Phone number, email address.
4 validated in that first ping? 4 Q. Did you have to use the Jormaya LeadiD?
5 MR. POLANSKY: Are we talking about Joseph 3 A. I did not have the Jornaya LeadiD at the time.
6  Mantha, or in general? 6 [had to pull the lead information to get that.
7 Q. (BY MR. BRODERICK:) Well, when you got the 7 Q. Okay. And did you have the consumer IP
8 Joseph Mantha thing sent to you, did it have consent 8 address when you pulled the lead?
9 — information in that first ping before your system would 9 A. Ididnot. That was provided by RevPoint.
10 provide a bid to -- 10 Q. And the "Form URL & Carrie List URL," was that
11 A. It had the Jornaya LeadiD. 11 pulled from your system or that was provided by
12 Q. And is that how you check whether the consent | 12 RevPoint?
13 is valid? 13 A. That was provided by RevPoint.
14 A. Yes, that and, I mean, the fact that we have a 14 Q. Do you know what "Carrie List," and that's
15 contract with our vendors that explicitly state they 15 C-A-R-R-I-E list, "URL stands” for, means?
16 have to obey all TCPA laws and laws in general. 16 A. That's a typo. It's supposed to say carrier
17 Q. Right. So you rely on the vendor to secure 17 list.
18 the consent, there is nothing else that -- well, is that 18 Q. Okay. Okay. And at the bottom, well, not the
19 correct, that you rely on the vendor to secure prior 19 very bottom, but then there is something that says "TCPA)
20 expressed written consent from people to whom text 20 ~——- Disclosure,” which is bolded.
21s messages are sent? 21 A. Uh-buh.
22 MR. POLANSKY: I'm just going to object to the | 22 Q. Where did that data come from, that language?
23s extent that it relates to any of the other potential 23 A. That came from the link provided by RevPoint
24 plaintiffs, other than Mr. Mantha. 24 Media that is the form URL.
25 Q. (BY MR. BRODERICK:) Allright. Well, for 25 Q. And did you copy and -- did you go -- did you
Page 15 Page 17
| Mr. Mantha, were you relying on RevPoint to obtainhis | 1 — click on that link URL that was provided by RevPoint?
2 prior expressed written consent? 2 A. Yes, I did.
3 A. They are responsible for securing that. 3 Q. And then did you cut and paste that language
4 Q. And QuoteWizard itself doesn't do anything 4 — and put it in this document?
5 to -- doesn't secure consent on its own on top of the 3 A. Correct.
6 obligation that RevPoint had to get Mr. Mantha's 6 Q. Okay. And what about the -- below the "TCPA
7 consent; correct? 7 Disclosure" in bold it says "Screenshot." Does that --
8 A. On top of the contracts that we have and the 8 where did that language come from?
9 requiring of a Jornaya LeadiD? 9 A. That was a screenshot that I captured after
10 Q. Right. 10 clicking on the link for RewPoint Media.
11 A. We do not. ll Q. And is -- was TCPA, the words "TCPA
12 Q. Okay. And on what system did you create this 12 Disclosure,” was that on the Snappy Auto Insurance link?
13. what I'll call the Quote Wizard opt in? 13 A. No, that's part of the -- that's just the
14 A. What system? 14 heading for that section of the file.
15 Q. Yeah. 15 Q. Okay. So is it -- the Snappy Auto Insurance
16 A. Microsoft Word. 16 website, when you clicked on it, did it say the words
17 Q. Okay. And you pulled this from this API 17 "TCPA Disclosure"?
18 system, this data that you filled into this, other than 18 A. It did not.
19 what was provided to you by -- 19 Q. Okay. And when did you create this document?
20 A. I pulled the data from our SQL databases. 20 This is you say after the litigation was filed; correct?
21 Q. And how did you -- how did you pull that data? | 21 MR. POLANSKY: Objection.
22 = Did you have to run a query? 22 You can answer.
23 A. Correct, | wrote a query and ran it and pulled 23 A. Correct. I just was -- this was after we
24 the information around this lead. 24 received the complaint.
25 Q. And what -- what items would you put into a 25 Q. (BY MR. BRODERICK:) Okay. And so, again,
5 (Pages 14 - 17)
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| where it says "Screenshot" in bold, is that also just a 1 A. Yes.
2 header that did not appear on the Snappy Auto Insurance | 2 Q. And what is it?
3. website? 3 A. What is the document? It's the answers to the
4 A. Correct. It's a header that I -- that's part 4 interrogatories.
5 of this report. 3 Q. Right. And at the bottom, the very last thing
6 Q. Okay. Where on the Snappy Auto Insurance site | 6 in the document is a "Verification." And did you
7 ~~ did you get that, the language that follows 7 authorize your digital signature to be put on that
8 "Screenshot"? 8 verification?
9 A. I'm not sure I follow your question. 9 A. Yes, I did.
10 Q. Well, below "Screenshot" and the colon, it 10 Q. Okay. So these are your answers on behalf of
11 says in fairly small font, "By clicking the 'Compare 11 QuoteWizard?
12 Rates’ button, [hereby consent to receive marketing 12 A. Yes.
13. communications via autodialed and/or pre-recorded calls,) 13 Q. And in your answers to interrogatories, you
14 including SMS messages,” and then it continues. 14 said that you got the -- you got the data from RevPoint.
15 I'm just wondering where you got that. 15 And that's correct; right?
16 A. That's a screenshot of the website. I didn't 16 A. Yes.
17 type that under -- that's a screen capture of the 17 Q. And then in the I guess it's interrogatory
18 website. 18 answer No. 4, you say that you got that -- you
19 Q. Is that a separate web page on the Snappy Auto | 19 understand that RevPoint got -- got its data from Plural
20 ‘Insurance website? 20 Marketing Solutions, Inc.
21 A. A separate web page? I'm -- 21 Is that -- first of all, is that a fair --
22 Q. Well, I'm just saying that -- it says 22 ~—swell, is that a fair summary of your answer to No. 4?
23. "Screenshot," and I'm saying screenshot of what? 23 MR. POLANSKY: After the objection?
24 A. That is a screenshot of the consent language 24 Q. (BY MR. BRODERICK:) After the objection, yes
25 from the Snappy Auto website. 25 where it starts with, "Further answering....”
Page 19 Page 21
1 Q. Okay. And would you agree with me that that 1 A. On No. 4.
2 screenshot does not mention Quote Wizard? 2 Q. Yeah, I'll read it to you. It might be
3 MR. POLANSKY: Objection. 3 easier. "Further answering, QuoteWizard states that
4 A. It mentions QuoteWizard in "marketing 4 Plaintiff's consent was generated on
5 partners.” 3. www.SnappyAutolnsurance.com on August 5, 2019;
6 Q. (BY MR. BRODERICK:) But the word 6  QuoteWizard received Plaintiff's lead information and
7 “QuoteWizard" does not appear in that screenshot; 7 consent to contact from RevPoint Media prior to the time
8 correct? 8  QuoteWizard sent or caused to be sent any text messages
9 A. QuoteWizard does not appear in that 9 to Plaintiff; RevPoint has asserted that Plural
10 screenshot, no. 10. Marketing Solutions, Inc. a’‘k/a Plural Marketing Group,
11 Q. And under TCPA disclosure, QuoteWizard's name 11 PLMRKG," and that's all caps, ".com or unitedquotes.com
12 does not appear in the TCPA disclosure; correct? 12 (‘Plural’) originated Plaintiffs subject lead and/or
13 A. QuoteWizard does not appear. 13 that it received the lead from Plural;" and that
14 MR. BRODERICK: Okay. I'm going to introduce 14 ‘Plaintiff's lead contains the Jornaya LeadiD.
15 that document, I hope. Or no, sorry. And that will be 15 Do you believe all of that statement remains
16 Exhibit No. 2. 16 true?
17 (Deposition Exhibit 2 was marked for 17 A. Yes. [learned about Plural Marketing through
18 identification.) 18 counsel and information relayed by them.
19 Q. (BY MR. BRODERICK:) Now, Mr. Weeks, I want to 19 Q. Okay. And did you -- you didn't talk to
20 show you QuoteWizard's answers to interrogatories in 20 anybody at RevPoint to find out where they got the
21 ‘this case, now being put in the "Marked Exhibits" 21 information?
22 ~~ folder. If you'd open those -- 22 A. No.
23 A. Yep. 23 Q. And who do you believe put the Jornaya LeadiD
24 Q. -- and I'll ask you a few questions. 24 on the data package that was sent to you by RevPoint?
25 Do you recognize that document? 25 MR. POLANSKY: Objection.
6 (Pages 18 - 21)
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| Q. (BY MR. BRODERICK:) If you know. | lodge an objection that I think we're entitled to know
2 A. [have no idea. 2 ~=what QuoteWizard knows about the facts relating to how
3 Q. And nobody at RevPoint has ever told you they 3. Mr. Mantha's consent was generated.
4 were responsible for the Jomaya LeadiD? 4 So those are facts and not -- not legal
5 A. No. 5 advice, but just this is what we know about where this
6 Q. And how about anybody at Plural? 6 consent came from.
7 A. No. 7 MR. POLANSKY: Well, I think he's testified to
8 Q. Okay. And have you ever spoken with Adam 8 that. I mean, I think he's testified that, you know,
9 Brown? 9 where the consent came from was from RevPoint. That is
10 A. No. 10 his information. He hasn't spoken to Plural.
11 Q. Have you had any email communication with him? 11 MR. BRODERICK: Right, but I want to know why
12 A. No. 12 he was able to answer in an interrogatory that RevPoint
13 Q. Have you spoken with anyone at 13 said that it was Plural. And what I'm also just not
14 SnappyAutolInsurance.com? 14 clear on is whether Plural and unitedquotes.com are one
15 A. No. 15 in the same or they're -- whether there is an assertion
16 Q. And how about unitedquotes.com? 16 that this supposed lead and opt-in consent, prior
17 A. No. 17 expressed written consent was provided on
18 Q. Now, the QuoteWizard opt in that we looked at | 18 unitedquotes.com or on SnappyAutoInsurance.com.
19 earlier, that doesn't reference unitedquotes.com, does 19 MR. POLANSKY: Right, but I think his
20 it, as being the sourced URL for Mr. Mantha's consent? | 20 information on that answer is coming through counsel.
21 A. No. I believe that document lists a Snappy 21 That's information learned through discovery in this
22 = something URL. 22s case. And he's provided what he knows in the answer.
23 Q. But you put this in your interrogatory answer 23 MR. BRODERICK: Okay. Well, we'll table that
24 because you believed that Plural had represented that 24 for now, but I think we are entitled to that because
25 that was their source of the Mantha opt-in data; 25 they are facts in possession of QuoteWizard.
Page 23 Page 25
1 correct? 1 Q. (BY MR. BRODERICK:) Do you know who Plural
2 MR. POLANSKY: Objection. 2. obtained Mr. Mantha's data from?
3 A. I didn't follow that question. 3 A. Ido not.
4 Q. {BY MR. BRODERICK:} Yeah, I don't blame you. 4 Q. Do you know what Plural Marketing Solutions,
3 You say that "RevPoint has asserted that 5 Ine., is or does?
6 Plural Marketing Solutions... or unitedquotes.com." 6 A. Ido not,
7 Do you know the relationship between Plural 7 Q. Do you know what RevPoint's relationship is to
8 Marketing Solutions and unitedquotes.com? 8 Plural?
9 A. Ido not. 9 A. Ido not.
10 Q. But RevPoint -- so this information is that 10 Q. Does QuoteWizard have any relationship with
11 RevPoint was told by Plural that Plural originated the 11 Plural?
12 lead, the subject lead. But what I'm wondering about is 12 A. We do not.
13. what did RevPoint say about whether unitedquotes.com was 13 Q. Do you know, I think I might have just asked
14 the actual source as opposed to SnappyAutolnsurance.com? 14 this, do you know how Plural obtained Mr. Mantha's data?
15 A. Never had any communication with RevPoint 15 A. Ido not.
16 about any of that. 16 Q. Are you now aware that Plural was not the
17 Q. But how about QuoteWizard as a whole? I think 17 original source of Mr. Mantha's opt-in data and that the
18 — we're entitled to know where did this come from or know 18 original source was reportedly SnappyAutolnsurance.com
19 what you know about where it came from. 19 run by a man named Adam Brown?
20) A. Like I said, the Plural Marketing, the only 20 A. In--I'm not sure. You just told me that, so
21 reason I'm aware of them is information I was given from 21 ‘I'm aware of it.
22 counsel, 22 Q. But you hadn't heard that before?
23 MR. POLANSKY: Don't speak about what you 23 A. No.
24 learned from counsel. 24 Q. So you do not know who Adam Brown is?
25 MR. BRODERICK: Well, I guess I just want to 25 A. Ido not.
7 (Pages 22 - 25)
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1 Q. And you don't know his role in regard to this 1 MR. BRODERICK: And why is that -- why is an
2 case? 2 email from RevPoint privileged?

3 A. Ido not. 3 MR. POLANSKY: We can talk about it now, we
4 Q. And the QuoteWizard opt in notes a date of 4 can talk about it later. It's privileged because it was
5 August 5th, 2019. What is it that happened on that date 5 after receiving a demand letter from your -- I guess
6 that caused you to put that in that document? 6 your colleagues on behalf of the plaintiff in
7 A. That was the date that we purchased the lead 7 preparation for litigation.
8 from RevPoint Media. 8 MR. BRODERICK: So it's work product?
9 Q. That's the date of the purchase. It's not -- 9 MR. POLANSKY: That's right.
10 isit the date on which Mr. Mantha supposedly visited 10 MR. BRODERICK: Gathering information from
11 the website? 11 RevPoint about where the consent came from. Okay. I'll
12 A. I do not know. 12 just reserve that issue and keep moving.
13 Q. How is that date recorded by your system? 13 MR. POLANSKY: IT understand.
14 A. How is it -- 14 Q. (BY MR. BRODERICK:) And was any other
15 MR. POLANSKY: Objection. 15 information in this document emailed to you by RevPoint
16 Q. (BY MR. BRODERICK:) Well, you did a query of 16 A. Like I said, the IP address was in there as
17 a SQL database to pull this information? 17 well.
18 A. Correct. 18 Q. In an email?
19 Q. And when you pulled up information relating to 19 A. Yes.
20 Mr. Mantha, August Sth was in there as the date of 20 Q. And so did this -- Mr. Mantha's, is that the
21 purchase? 21 way your system works, that Mr. Mantha, that you
22 A. Yes. 22 ~— wouldn't -- if you got a lead like Mr. Mantha’s, would
23 Q. And the website reference on the Quote Wizard 23‘ that form URL ordinarily be in the data packet?
24 opt in is www.SnappyAutolnsurance.com. What's the -- 24 A. No.
25 what's the significance of that reference in the 25 MR. POLANSKY: Objection.

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| document? 1 Q. {BY MR. BRODERICK:) And would the consumer IP
2 A. I'd have to go -- I mean, I have the 2 address normally be in the data packet?

3. interrogatories up right now, so I'd have to go back to 3 MR. POLANSKY: Again, just relating to
4 the document. 4 Mr. Mantha; right?
5 Q. Let's go back. Fair point. 5 MR. BRODERICK: Yeah. Well, I want to know if
6 MR. POLANSKY: So we're going back to 6 Mr. Mantha’s is unique.
7 Exhibit 2? 7 MR. POLANSKY: Objection.
8 MR. BRODERICK: That's right. 8 A. I'm not sure I -- what was the question?
9 Q. (BY MR. BRODERICK:) Do you have it up? 9 Q. {BY MR. BRODERICK:) The "Consumer IP Address"
10 A. Ido, yes. 10 that shows up here, would you expect to find that in
11 Q. Okay. And it says "Form URL," and it should 11 a-- in the data packet that would already be in your
12 say "Carrier List URL.” I just wanted you to explainto | 12 SQL database, or would you ordinarily have to get that
13 me again what that -- where you got that information, 13 from the lead provider, in this case RevPoint, via an
14. how you pulled it out of the SQL database. 14 email?
15 A. That did not come from the SQL database, that 15 A. We-
16 came from RevPoint Media in an email that was sent to | 16 MR. POLANSKY: Objection.
17 me. 17 You can answer.
18 Q. And when was that email sent to you? 18 A. Like I said, we reach out to the lead provider
19 A. I'm -- I don't know. I'd have to check my 19 and they give us the [P address. It's not in the data
20 email. 20 packet.
21 Q. Do you know if that email was produced in this | 21 Q. {BY MR. BRODERICK:} It's not in the data
22 litigation? 22. packet. How about the Jornaya LeadiD, is that in the
23 A. Ido not. 23 ~~ data packet, or do you have to get that after the fact?
24 MR. POLANSKY: Objection. It was identified | 24 MR. POLANSKY: Objection --
25s in the privilege log. 25 A. That is --
8 (Pages 26 - 29)
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1 MR. POLANSKY: -- to the extent it’s speaking 1 address?
2 about any others. 2 A. Ido not.
3 You can answer. 3 Q. Ifthey don't match, could you explain why
4 A. The Jornaya LeadiD is something that we 4 that would be the case?
5 require. We don't purchase a lead without it being sent 3 MR. POLANSKY: Objection.
6 to us as part of the -- as part of the lead information 6 A. I'm not an IP address expert. [ can't.
7 being sent on the -- on the ping. That's something that 7 Q. (BY MR. BRODERICE:) So you couldn't explain
8 we get before we even formulate a bid. We will not buy 8 — why the IP address might tie to New Jersey, for example?
9 a lead without it. 9 A. Yeah, I don't know.
10 Q. (BY MR. BRODERICK:) And was Mr. Mantha's, the 10 Q. Okay. And the language, that "TCPA
11 Jornaya LeadiD, was that in the ping that you got from 11 Disclosure" language, can you tell me the date on which
12 RevPoint? 12 you cut and pasted that language from the Snappy Auto
13 A. Yes. 13. Insurance website?
14 Q. So that is not a piece of information that you 14 A. I cannot tell you the exact date.
15 had to get via email to put into this form; correct? 15 Q. But it was not on August 5th, 2019; correct?
16 A. Correct. 16 A. No. We didn't receive the complaint at that
17 Q. Okay. Thank you very much. 17 point.
18 So did that URL, form URL, did RevPoint tell 18 Q. Okay. And can -- and it was after you -- this
19 you this is where Mr. Mantha opted in to get 19 whole document was created after you got the complaint
20 solicitations? 20 and you were trying to figure out where did this come
21 A. That was the URL that was provided when [ 21 from; correct?
22 asked for the consent information. 22 A. Correct.
23 Q. Okay. And the IP address in this form, what 23 Q. And do you know the date on which RevPoint
24 is the significance of that IP address? 24 claims that Mr. Mantha visited SnappyAutoInsurance.com
25 MR. POLANSKY: Objection. 25 to opt in to get text messages on behalf of Quote Wizard?
Page 31 Page 33
1 Q. (BY MR. BRODERICK:) Let me ask you, why did 1 A. Ido not,
2 - you include an IP address? 2 Q. Do you know what AutoInsurQuotes.com is?
3 A. Why do I include an IP address in this report? 3 A. Ido not.
4 Q. Yes. 4 Q. Does it have any affiliation or relation to
5 A. This is a report that we do. It's kind of a 5  QuoteWizard?
6 template, if you will. We do a lot of work with a lot 6 A. Not that I'm aware of.
7 of the large insurance carriers, and this was a report 7 Q. And at any time, was QuoteWizard a marketing
8 that was formulated with them as far as satisfying 8 partner of AutolnsurQuotes.com?
9 requests from them. 9 MR. POLANSKY: Objection.
10 Q. Okay. And it says, "Consumer IP Address." Is 10 A. | --a direct partner?
11 that meant to be this is the IP address from which 1] Q. (BY MR. BRODERICK:) No, a marketing partner.
12. Mr. Mantha opted in to get text messages from 12. Pardon me.
13. SelectQuote? 13 A. Asin one of my vendors that I work with like
14 MR. POLANSKY: Objection. 14 ~~ RevPoint or --
15 A. It's the IP address that was provided to us by 15 Q. Well, the language in the TCPA, after -- the
16 RevPoint when asking for the complainant's IP address. 16 heading you put in of "TCPA Disclosure," it says, "I
17 Q. {BY MR. BRODERICK:) Okay. And so the IP 17 hereby consent to receive marketing communications via
18 — address should -- should match Mr. Mantha or someone 18 — autodialed and/or pre-recorded calls, including SMS
19 associated with Mr. Mantha, if he was the one who opted 19 messages, from AutoInsurQuotes.com and one or more of
20) in to get this text; correct? 20 its marketing partners..."
21 MR. POLANSKY: Objection. 21 Is QuoteWizard a marketing partner of
22 A. I'm not an IP address expert. | -- I don't 22 ~~ AutoInsurQuotes.com?
23. know. 23 MR. POLANSKY: Objection.
24 Q. {BY MR. BRODERICK:) Okay. Do you know 24 A. I-- the way the -- Ido not know.
25 whether or not this IP address matches Mr. Mantha's IP 25 Q. (BY MR. BRODERICK:) Okay. But you've never
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1 heard of AutoInsurQuotes.com; correct? 1 A. I didn't follow the question.
2 A. Correct. 2 Q. (BY MR. BRODERICK:) Well, the Jornaya LeadiD,
3 Q. Would you know who your marketing partners are 3 — does Jornaya capture the IP address of -- did it capture
4 in your job? 4 the IP address of Mr. Mantha when he was visiting this
5 MR. POLANSKY: Objection. 5 website?
6 A. Iknow who my direct partners are. 6 MR. POLANSKY: Objection.
7 Q. (BY MR. BRODERICK:) So is it fair to say that | 7 A. I'm not sure what Jornaya -- I don't work for
8 you know you don't have a contract with 8 Jornaya. I don't --
9 ~~ AutoInsurQuotes.com? 9 Q. (BY MR. BRODERICK:) You don't know what
10 A. Yes. 10 Jornaya --
11 Q. And the opt -- the Quote Wizard opt in, same 11 A. No.
12 exhibit, references a "Jornaya Lead ID." 12 Q. Do you know where RevPoint got the IP address
13 Can you tell me, what is Jornaya? 13 that it provided to you?
14 A. They're acompany. I don't work for Jornaya, 14 A. Ido not.
15 so I'm not the best to explain what they are, but they 15 Q. And this was provided directly from RevPoint,
16 are -- my understanding is they're a lead verification 16 not from Plural: correct?
17 company. They're kind of an industry standard, that 17 A. Correct.
18 everybody uses them or TrustedFrom, at this point. 18 Q. And do you know if the Jornaya LeadiD -- so
19 Q. TrustedFrom is their competitor? 19 the -- the Jornaya LeadiD was not the source of the
20 A. I believe that's the case, yes. 20 ~~ disclosure, the "TCPA Disclosure" language you have at
21 Q. Okay. And what does -- does QuoteWizard have | 21 the bottom of the QuoteWizard opt in which is Exhibit 2;
22 = a contract with Jornaya? 22 correct?
23 A. We do not. 23 MR. POLANSKY: Objection.
24 Q. Has it ever had a contract with Jornaya? 24 A. That's correct. As I said before, it came
25 MR. POLANSKY: Objection. 25 from the URL that was provided by RevPoint Media.
Page 35 Page 37
1 A. Not that I'm aware of. 1 Q. (BY MR. BRODERICK:) Did you do anything to
2 Q. (BY MR. BRODERICK:) And what's your 2 try to match that disclosure language to the date or
3 understanding of what a Jornaya LeadiD signifies? 3 dates on which Mr. Mantha visited, allegedly visited
4 What -- well, let me strike that. 4 that website?
5 Why does QuoteWizard require an Jornaya LeadiD| 45 MR. POLANSKY: Objection.
6 on any lead that it buys? 6 A. I'm not sure I understand the question.
7 MR. POLANSKY: Objection. 7 Q. (BY MR. BRODERICK:) Well, you -- on the date
8 A. We require it for a number of reasons. | 8 that you can't remember, and I understand that, that you
9 mean, it's a signifier that there is a record around the 9 — compiled this document as you said, that language was
10 leads, and it is also something that all of the major 10 what was on the website on the day on which you visited;
11 carriers, all of our head buyers require as well. 11 correct?
12 Q. (BY MR. BRODERICK:) And is it fair to say 12 A. That is correct.
13 that Jornaya and QuoteWizard have no direct 13 Q. But you can't say whether the same language
14 relationship? 14. was on the website earlier, can you?
15 A. Not that I'm aware of. 15 A. [cannot say.
16 Q. Okay. And should that -- when does that -- 16 Q. And is that the only time you visited
17 let me strike that. I may have asked this, and I 17 SnappyAutolInsurance.com?
18 honestly apologize. 18 A. Yes,
19 You don't know the date on which Mr. Mantha 19 Q. Let's turn to another exhibit.
20 supposedly visited SnappyAutoInsurance.com; correct? | 20 MR. POLANSKY: Ed, before we get into the next
21 A. Ido not. 21 ~~ exhibit, can we take a short break?
22 Q. And does the Jomaya LeadiD confirm the 22 MR. BRODERICK: Absolutely. Good thinking.
23 address used to access the SnappyAutolnsurance.com 23 THE VIDEOGRAPHER: We're going off the record.
24 ~~ website on some date? 24 The time now is 3:42 p.m. in the Eastern Time Zone.
25 MR. POLANSKY: Objection. 25 (Recess.)
10 (Pages 34 - 37)
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1 THE VIDEOGRAPHER: We are back on record. The 1 A. Not that I can tell.
2 time now is 3:51 p.m. in the Eastern Time Zone. 2 Q. Okay. And does it have an IP address listed?
3 Q. (BY MR. BRODERICK:) Mr. Weeks, are you aware 3 A. Yes.
4 — that RevPoint was issued a subpoena in this case in 4 Q. And that IP address is 66.189.107.166;
5 regards to all documents related to Mr. Mantha’s consent 3 correct?
6 to receive texts from QuoteWizard? 6 A. Yes.
7 MR. POLANSKY: Did you say RevPoint was or 7 Q. And now I'm going to ask you to flip back to
8  QuoteWizard was? 8 — Exhibit No. 2, which is the QuoteWizard opt in document
9 MR. BRODERICK: RevPoint was. 9 you compiled.
10 A. I'm not aware of anything from RevPoint. 10 A. To the -- which -- there is two versions now.
1 Q. (BY MR. BRODERICK:) Have you ever seen what 11 Exhibit 2 or the original QuoteWizard opt in?
12 RevPoint produced in response to that subpoena? 12 Q. Exhibit 2, sorry, Exhibit 2 is what I want you
13 A. No. 13 to look at.
14 Q. But it's RevPoint that QuoteWizard purchased 14 A. I'm there.
15 Mr. Mantha’s data from; correct? 15 Q. Okay. That IP address is 96.242.132.28.
16 A. Yes. 16‘ That's a different IP address than appears in the
17 Q. And that data is reflected in the QuoteWizard 17 RevPoint subpoena response; correct?
18 — optin, correct, which is Exhibit 2? 18 A. Yes.
19 A. Correct. 19 Q. Is it your belief that either of those --
20 Q. Would you expect, then, that RevPoint would 20 —_-well, is it your belief that this IP address, this
21 ~~ produce documents that would match the information you 21 consumer IP address connects to Mr. Mantha?
22. put on the QuoteWizard opt in? 22 MR. POLANSKY: Objection.
23 MR. POLANSKY: Objection. 23 A. Which -- which IP address are you talking
24 A. Yes. I mean, it should match. 24 ~~ about?
25 Q. (BY MR. BRODERICK:} Okay. So I'm going to 25 Q. (BY MR. BRODERICK:) On Exhibit 2, do you
Page 39 Page 41
1 ask you to look at, in the "Marked Exhibits" folder, the 1 think that IP address connects to Mr. Mantha?
2 RevPoint’s subpoena response -- 2 MR. POLANSKY: Objection.
3 A. Okay. 3 A. That's the IP address that was provided to me
4 Q. -- which I'll represent to you -- sorry. 4 by RevPoint when asked for Mr. Mantha's IP address.
3 MR. POLANSKY: Is it "Subpoena Response 5 Q. (BY MR. BRODERICK:) Okay. Do you have any
6 Combined"? 6 more understanding or do you know why those IP addresses
7 Q. (BY MR. BRODERICK:) Yeah, “RevPoint Subpoena 7 are different in those two documents?
8 Response Combined." Do you got it? 8 A. No idea.
9 A. Yep. 9 Q. Now I want to show you another -- well, [ want
10 Q. Okay. So you've never seen this document 10 to introduce that before I forget. Actually, let me
11 before; correct? 1] introduce the QuoteWizard answers to interrogatories.
12 A. [have not, no. 12. We'll make that Exhibit 3.
13 Q. Okay. I'm going to ask you to - I'll 13 And then I'm going to introduce the RevPoint
14 represent to you that this is what was produced in 14 response as Exhibit 4, the subpoena response.
15 response to a subpoena issued by the plaintiff in the 15 (Deposition Exhibits 3-4 were marked for
16 case by RevPoint. And I'm going to ask you to scroll to 16 identification.)
17 the last page. 17 Q. (BY MR. BRODERICK:) It will take a little
18 A. Okay. 18 while to load. My apologies.
19 Q. Which was -- this was what was provided by 19 Okay. Now I'll show you -- sorry, I'm in the
20) = RevPoint. And would you look at that last page? Do you 20 ~~ wrong folder. [ want to show you another document that
21 see any reference in this document to 21 ~~ I[can represent to you is a response to a subpoena
22 =SnappyAutolnsurance.com? 22 issued by the plaintiff in this case.
23 A. I don't see SnappyAutoInsurance, no. 23 A. Which one do you want me looking at?
24 Q. And does this document make any reference to 24 Q. I'm trying to make sure I'm asking you to look
25 the date of any website visit? 25 at the right one.
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1 A. "Tracks to Guerrero"? 1 same number in Charter Communications' response, which
2 Q. Right. And I can represent to you that this 2 is 66,189.107.166,
3. is aresponse to a subpoena issued in this case by your 3 A. Yes, that's the same.
4 — attorneys, and particularly Christine Kingston. 4 Q. And then there is a date there, six dash --
5 Have you seen that document before? 5 "6/26/2019." Correct?
6 A. [have not. 6 A. Correct.
7 Q. Okay. And I'll ask you to scroll to the 7 Q. And there is an individual listed named Mario
8 second page. And do you recognize where it says "Target 8 Guerrero who lives at 26 Pemberton Street, Apartment 2
9 ~=s Details"? 9 in Worcester, Mass. Do you see that?
10 A. Yes, I see that. 10 A. Yes.
11 Q. And is that -- that is the same IP address as 11 Q. And are you aware that your attorneys are
12 was on the RevPoint subpoena response, correct, which is 12 —_ going to depose -- well, I guess it’s not going to be
13. -66.189.107.166? 13. Mr. Guerrero because he's a minor, but it could be his
14 A. Without seeing the two documents right next to | 14 sister?
15 each other, | can't say that that's the same. 15 MR. POLANSKY: Objection; relevance.
16 Q. Okay. Well, let me -- let me read to you 16 Q. (BY MR. BRODERICK:) Well, do you know if that
17 first, before I show you -- we go back to the RevPoint 17 IP address ties to Mr. Mantha?
18 subpoena response, this subpoena, this is from Charter 18 MR. POLANSKY: Objection.
19 Communications saying, "Charter Communications, Inc. | 19 A. I don't know.
20 acknowledges receipt of the above referenced request for | 20 Q. (BY MR. BRODERICK:) And so you can't explain
21 subscriber information." And it says, "Pursuant to the 21. ~=why RevPoint's subpoena response has an IP address that
22 specific obligations imposed by 47 U.S.C. section 551(c) | 22 does not match what was in QuoteWizard's opt in, which
23 and (h), the Federal Cable Privacy Act, this letter is 23 ~~ is Exhibit 2?
24 to advice you that Charter investigated and was able to | 24 MR. POLANSKY: Objection.
25 identify the attached information." 25 A. II can't explain why it doesn't match what
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I Now, so let's go back to the Exhibit 4. 1 RevPoint provided to me.
2 “Scroll all the way to the bottom. And that IP address, 2 MR. BRODERICK: Okay. And I'd like to
3. where it says "IP address," colon, it says, 3 introduce this IP subpoena for RevPoint, which will be
4  "66.189.107.166." 4 Exhibit 5.
5 Now, that's the same IP address as Charter 3 (Deposition Exhibit 5 was marked for
6 Communications’ response in the documents we were just, 6 identification.)
7 looking at; correct? 7 Q. (BY MR. BRODERICK:) Were you aware that
8 MR. POLANSKY: Objection. 8 Plural Marketing Solutions was issued a subpoena for all
9 A. Like I said, I mean, I'd like to see the two 9 documents related to Mr. Mantha's alleged consent to
10. next to each other or write them down and compare. 10 receive texts from QuoteWizard?
11 Q. (BY MR. BRODERICK:) No, that's fine. Let's | 11 A. Iwas not.
12 write them down. We'll go back to Exhibit 4. Youcan | 12 Q. So you haven't seen that response before
13. write this -- write down -- this was RevPoint, this is 13 today?
14. RevPoint's response to a subpoena, Exhibit 4. Thereis | 14 A. Ihave not.
15 an IP address in that document. 15 Q. So I'm going to show you another document.
16 A. Uh-huh. 16 This is in the "Marked Exhibits" folder, and it is
17 Q. And you can write it down. 17 Plural -- we have a typo, but it's supposed to say
18 A. Yeah. 18 "Plural Response to Mantha Subpoena.”
19 Q. 66.189.107.166. 19 A. Yes, I see that.
20 A. Yes, I've written that down. 20 Q. And you've never seen this document before;
21 Q. Okay. And then after we got that, your 21 correct?
22 ~~ attorney sent a subpoena to Charter Communications 22 A. Ihave not.
23 ‘trying to find out who owned that IP address, who was =| 23 Q. And I'llask you to go all the way to the
24 using that IP address. 24 ~~ bottom, end of the document. Actually, excuse me, not
25 And do you see "Target Details"? That's the 25 the end of the document. We're on page -- after
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| Exhibit C, if you can scroll down. 1 Q. Okay. Let's go back to Exhibit 2. You can
2 A. Okay. 2 write that one down.
3 Q. And this is, I'll represent to you, is 3 A. Oh, that does looks like it matches. It does
4 Plural's response to a subpoena issued by the plaintiff 4 match.
5 in this case. 5 Q. Can you tell me how it is that you matched
6 A. Okay. 6 Plural's but not RevPoint’s [P address in that document?
7 Q. And do you see, if you scroll down, do you see 7 MR. POLANSKY: Objection.
8 applicant -- “Applicant IP Address"? 8 A. Tecannot. I can only say that the IP address
9 A. Yes, 9 that I have received I received from RevPoint Media.
10 Q. You can write that one down, too, but it's -- 10 Q. (BY MR. BRODERICK:) Okay. And let's go back
11 let me introduce this before I get too far so we can be 11 to Exhibit 6.
12 clear enough what we're talking about. I'm going to 12 Does QuoteWizard contend that Mr. Mantha
13. introduce this as Exhibit 6. 13. visited Snappy Auto Insurance and provided his consent
14 (Deposition Exhibit 6 was marked for 14 on that site?
15 identification. ) 15 A. Yes.
16 Q. (BY MR. BRODERICK:) So now you can look at 16 Q. And on what date?
17 the marked version with the stamp on it, Exhibit 6. 17 A. Ido not know.
18 Just tell me when you have it up on your screen. 18 Q. Plural lists 6/26/2019, or at least it lists
19 A. And go back down to just below Exhibit C? 19 date of application. Do you have any reason to believe
20 Q. Thank you, yes. 20 that is the date that someone visited and put in
21 A. Okay. 21. Mr. Mantha's information?
22 Q. Do you see where it says "IP Address"? 22 MR. POLANSKY: Objection.
23 A. Yes. 23 A. Thave no idea.
24 Q. And this is in Exhibit 6, there is an IP 24 Q. (BY MR. BRODERICK:) Do you know anything
25 address of "96.242.132.28." 25 about the person who resides at -- whose IP address this
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| A. Yes. 1 is on the Plural Exhibit 6?
2 Q. And then it says "Applicant IP Address." 2 A. [have no idea.
3 A. Yes. 3 Q. There is no sale date on this Plural document;
4 Q. And then it says, "Applicant IP Address ISP: 4 correct?
5 Verizon." 5 MR. POLANSKY: Objection.
6 You understand "ISP" means Internet service 6 Q. (BY MR. BRODERICK:) Sale of the lead. On
7 provider? 7 QuoteWizard 2 you listed a date. Well, that was the
8 A. Yes. 8 date that you purchased the lead. There is no lead sale
9 Q. And the "Applicant IP Location” is listed as 9 date on this document; correct’?
10 Morristown, New Jersey? 10 A. [haven't read this whole document. I have no
11 MR. POLANSKY: Are you just asking him to read 11 idea.
12 from the document? 12 Q. Okay. Well, I'm just asking you to look at
13 Q. (BY MR. BRODERICK:) Yeah. Well, I'm just | 13 this one page of data here.
14 saying -- how do you understand what that means? That's 14 A. Back down just below Exhibit C?
15 where the person applied from; correct? 15 Q. Yes, thank you.
16 MR. POLANSKY: Objection. 16 MR. POLANSKY: Objection.
17 A. That's the location of this IP address. I 17 A. So you want me to see if there is a sale date?
18 don't -- 18 Q. (BY MR. BRODERICK:) Yes.
19 Q. (BY MR. BRODERICK:) And that IP address 19 A. There is not a sales date.
20 provided by Plural as the "Applicant IP Address" doesn't | 20 Q. Okay. And you don't -- I believe you
21 ~~ match either the QuoteWizard -- doesn't match the 21 testified you didn't know the date of the visit, the
22 = Quote Wizard opt in from Exhibit 2 that you compiled; 22 alleged visit to SnappyAutolnsurance.com; correct?
23s correct? 23 A. That is correct.
24 A. I don't know. I don't have that one in front 24 MR. POLANSKY: Objection.
25 of me, and I didn't write that one down. 25 Q. (BY MR. BRODERICK:) And does the Plural data
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1 on this page make any reference to a Jornaya LeadiD? 1 information on SnappyAutolnsurance.com on behalf of
2 MR. POLANSKY: Objection. 2. Mr. Mantha?
3 A. I do not see anything that says Jornaya 3 MR. POLANSKY: Objection.
4 LeadiD. 4 A. [have no idea.
5 Q. {BY MR. BRODERICK:) Do you know if the 5 Q. (BY MR. BRODERICK:) Do you know why
6  Jornaya LeadiD that appears on QuoteWizard -- on the 6 Mr. Petroff's IP address shows up on the QuoteWizard opt
7  QuoteWizard opt in, which is Exhibit 2, do you know 7 in, which is Exhibit 2?
8 — if-- do you know where that came from? 8 MR. POLANSKY: Objection; asked and answered
9 A. We received that from RevPoint Media. 9 several times.
10 Q. Okay. But you don't know what that Jornaya 10 A. It shows up there because that's the IP
11 LeadiD ties to, do you? 11 address that I was given by RevPoint Media.
12 A. I couldn't hear the last half of that. 12 MR. BRODERICK: And I'm going to mark this
13 Q. I'm sorry. You don't know what that Jornaya 13. as -- introduce that exhibit. That will be Exhibit 7.
14 LeadiD ties to, do you? 14 {Deposition Exhibit 7 was marked for
15 A. Ties to? I'm not sure | understand. 15 identification. }
16 Q. Well, does the Jornaya LeadiD indicate that 16 Q. (BY MR. BRODERICK:) Can you turn back to
17 someone from Mr. Mantha’s IP address logged on and 17 Exhibit 6?
18 provided consent on SnappyAutoInsurance.com? 18 MR. POLANSKY: What page?
19 MR. POLANSKY: Objection. 19 Q. (BY MR. BRODERICK:) Scrolling back down to --
20 A. I don't know. 20 MR. BRODERICK: I'm just getting there. Hold
21 Q. (BY MR. BRODERICK:) Okay. And are you aware 21 on. I'll tell you.
22 that a subpoena was issued to Verizon to identify the 22 MR. POLANSKY: 15?
23 subscriber assigned to the IP address contained on the 23 Q. (BY MR. BRODERICK:) After exhibit -- no, it's
24 Plural opt in as of June 26, 20197 By "Plural opt in,” 24 after the page we were looking at, when we get to what
25 I mean Exhibit 6 that we've just been talking about. 25 looks like an image of the Snappy AutoInsurance.com
Page 51 Page 53
| A. I'm not aware. 1 website.
2 Q. Okay. So I'm going to show you Verizon's 2 A. Just below the section we were previously
3 subpoena response. | want you to open the Verizon -- 3 looking at under Exhibit C?
4 — the document that says "Verizon IP." It should say 4 Q. Exactly.
5 June, but it says "Jue 26, 2019." Can you open that? 5 MR. POLANSKY: Just for record purposes, it's
6 A. Yep. 6 page 16 of 20 on Exhibit 7 -- no, Exhibit 6.
7 Q. And I'll represent to you that this is a 7 Go ahead.
8 subpoena response in response to a subpoena issued by 8 Q. (BY MR. BRODERICK:) Now, previously we went
9 the plaintiff in this case for a search for the Verizon 9 — over Exhibit 2, which I've been calling the QuoteWizard
10 customer that was assigned IP address 96.242.132.28. 10 optin, the document that you compiled.
11 First of all, that's the same IP address that 11 A. Uh-huh.
12. shows up on the Plural subpoena response; correct? 12 Q. On this subpoena response from Plural, do you
13 MR. POLANSKY: Objection. 13. see any "TCPA Disclosure" language --
14 A. Yes, it is. 14 MR. POLANSKY: Objection.
15 Q. (BY MR. BRODERICK:) And that's the same IP | 15 Q. (BY MR. BRODERICK:) -- similar to what you
16 address that shows up on the Quote Wizard opt in 16 copied into Exhibit 2 when you yourself visited the
17 document, which is Exhibit 2; correct? 17 SnappyAutoInsurance.com website?
18 A. Yes. 18 MR. POLANSKY: Objection.
19 Q. And the customer name is, on this subpoena 19 A. Ido not. How far down am I| supposed to be
20 response, is Peter Petroff; correct? 20 = going? It seems to go fora while. Yeah, I don't -- I
21 A. Yes. 21 ~~ mean, I don’t see anything.
22 Q. And do you know of any connection between 22 Q. (BY MR. BRODERICK:) Okay. Do you know what
23. Mr. Petroff and Mr. Mantha? 23 this -- do you think that's a complete version of the
24 A. Ido not. 24 website, or was there something different that you
25 Q. Does QuoteWizard believe Mr. Petroff put in 25 captured that language from when you created Exhibit 2?
14 (Pages 50 - 53)
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I A. You're kind of fading in and out for me. 1 MR. BRODERICK: But it was working okay?
2 Q. Do you -- do you know if that's a -- does that 2 MR. POLANSKY: Now we can hear you. Don't
3 look like the Snappy Auto insurance website that you 3 hold that, put that down. No, we can't hear you if
4 — visited in order to cut and paste the "TCPA Disclosure" 4 you're holding it.
5 language? 5 MR. BRODERICK: I was holding it when you
6 A. I don't remember. 6 heard me. Now?
7 Q. Okay. So you don't know what -- why that 7 MR. POLANSKY: Yeah, that's better.
8 language doesn't show up on Exhibit 7? 8 No, that’s no good.
9 A. [have no idea. 9 THE VIDEOGRAPHER: Can we go off record and
10 Q. And would you agree with me that this -- 10 maybe we attempt to switch to phone audio?
11 Exhibit 6, the Plural response to Mantha's subpoena, 11 MR. POLANSKY: Okay, go off record again.
12 there is no reference to AutoInsurQuotes.com and its 12 THE VIDEOGRAPHER: Off record at 4:32 p.m.
13. marketing partners on this document? I'll just 13 (Discussion off the record.)
14 represent that to you. Do you know why that is? 14 THE VIDEOGRAPHER: Back on record. The time
15 MR. POLANSKY: Objection. I think that's 15 now is 4:34 p.m.
16 incorrect as well. 16 Q. (BY MR. BRODERICK:) Okay, Mr. Weeks. So do
17 Q. (BY MR. BRODERICK:) (Inaudible.) 17 you have any -- any explanation for why the Plural opt
18 MR. POLANSKY: We can't hear you. Ed, are you 18 in, which is what I'm referring to as Exhibit 6, would
19 talking? We can't hear anything, unless you guys can't 19 be different from the QuoteWizard opt in?
20 ~~ hear me. 20 MR. POLANSKY: Objection.
21 THE WITNESS: I can hear you. I can't hear 21 We can't hear you, Matthew,
22 him at all. 22 A. Why our document is different from theirs?
23 THE VIDEOGRAPHER: We can't hear. 23 Q. (BY MR. BRODERICK:) Well, let me -- let me
24 MR. BRODERICK: Can you hear me? 24 rephrase. And specifically with respect to references
25 MR. POLANSKY: Yeah, you're going in and out.) 25 to AutoInsurQuotes.com and its marketing partners, if
Page 55 Page 57
1 Ted, we can't hear you. No. I can see your mouth | you --
2 moving, but... 2 A. I mean, | can't speak to their document.
3 THE VIDEOGRAPHER: Should we go off record, 3 Q. But you don't have any knowledge of whether
4 Mr. Polansky? 4 RevPoint added the language that it provided to you?
5 MR. POLANSKY: Yeah, let's go off record until 3 Strike that.
6 — we can fix Ted. 6 Do you know why the Plural Exhibit 6 doesn't
7 THE VIDEOGRAPHER: Going off record. The time 7 reference a Jornaya LeadiD?
8 nowis 4:23 p.m. 8 MR. POLANSKY: Objection.
9 (Recess. } 9 A. I can't speak to anything in their document.
10 THE VIDEOGRAPHER: We are back on record, 10 I don't -- I don't know.
11 It's now 4:30 p.m. in the Eastern Time Zone. ll Q. (BY MR. BRODERICK:) Okay. You don't know
12 Q. (BY MR. BRODERICK:} Okay. So Mr. Weeks, 12. who -- where that Jornaya LeadiD came from, other than
13. turning back to Exhibit 6, the final part which starts 13 it was provided to you by RevPoint?
14 at page 15, which looks like a representation of the 14 A. The ID? The Jornaya LeadiD that we have was
15 SnappyAutolnsurance.com website, at least part of it, 15 provided to us by RevPoint.
16 this is -- this is Plural's response to a subpoena. 16 Q. Yeah. And that was the one that was via email
17 From page 15 on, there is no -- would you 17 that we talked about earlier?
18 agree there is no reference to Auto[nsurQuotes.com? 18 A. Yes. Well, the ID --
19 A. Ihave no idea. [ mean, this is -- there is a 19 Q. No, no, strike that. I think that's wrong.
20 lot of text here. It would take a while to read this. 20 But that's fine. Strike that question.
21 Q. Irepresent to you that is -- 21 Do you know who -- does RevPoint have a
22 THE VIDEOGRAPHER: Counsel, we can't hear you. 22s contract with Jornaya, to your knowledge?
23 MR. BRODERICK: Really? 23 A. Ihave no idea of RevPoint's contract
24 MR. POLANSKY: Yeah, you're coming in very 24 situations.
25 low. 25 Q. And same for Plural, you don't know if they
15 (Pages 54 - 57)
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1 have a contract with Jomaya? 1 A. [have not.
2 A. [have no idea. 2 Q. And going down to the bottom here, do you see
3 MR. BRODERICK: Okay. Now, I'm getting close. 3. a--is that -- now we have a "Universal LeadiD" on the
4 I'm going to introduce the IP subpoena for 4 last page of Exhibit 8, which is the Jornaya response.
5 RevPoint, and that's going to be Exhibit 7. 5 Have you ever seen a Jornaya LeadiD like this?
6 MR. POLANSKY: The June 26th -- you have an 6 MR. POLANSKY: Objection.
7 Exhibit 7, and it says Verizon IP June, versus J-U-E -- 7 A. Like -- like what? I'm not --
8 MR. BRODERICK: Okay, sorry. So this will be 8 Q. (BY MR. BRODERICK:) Well, in connection with
9 ~ eight, unless | just clicked the wrong thing. 9 — your work. Like, | just want to know if this is a --
10 MR. POLANSKY: So what is Exhibit 8? 10 this LeadiD which ties -- you know, which is the LeadiD
11 MR. BRODERICK: I'm trying to figure that out 11 that was on -- well, this LeadiD on the last page of
12 myself. 12 Exhibit 8, is that the same lead, Jornaya LeadiD that's
13 Did J introduce Charter before? [ apologize. 13 on Exhibit 2?
14 Let's see here. 14 MR. POLANSKY: Objection.
15 MR. POLANSKY: Yeah. 15 A. [have no idea. I'd have to go back and look.
16 MR. BRODERICK: You know what the problem is? 16 Q. (BY MR. BRODERICK:}) I want to do that,
17 My page isn't refreshing. 17 because I just -- I'm just trying to establish that --
18 MR. POLANSKY: So just to help you out, you 18 because what we tried to do, I'll just explain, was take
19 have Exhibits | through 7. You have Exhibit 7 as the 19 the LeadiD from the QuoteWizard opt in, which is
20) Verizon IP address for Jume 26, 2019. 20 ~~ Exhibit 2, and asked Jornaya to provide us with
21 MR. BRODERICK: Yeah, I got it, [ got it, I 21 information on that LeadiD. [ just want to confirm
22 got it, I got it. 22 that,
23 Okay. What I was trying to do was introduce 23 All right. I've got it written down. Let's
24 the IP subpoena for RewPoint which tracks to Guerrero. 24 go look at Exhibit 2. Can you write down the Jornaya
25 MR. POLANSKY: You have that. 25 LeadiD?
Page 59 Page 61
1 MR. BRODERICK: Oh, jeez. 1 A. I did the opposite. I went back and wrote it
2 MR. POLANSKY: That's No. 5, 2 down from two and was going to go back and look at the
3 MR. BRODERICK: That's No. 5, okay. What I -- 3 one for eight.
4 just a tip for next time we do this: It's good to cut 4 Q. So now you're looking at -- you wrote it down
5 them out of your private folder, out of your marked 5 from two, which is the QuoteWizard opt in? Yes?
6 — folder, and then you don't go over the same thing twice. 6 A. Correct.
7 We have not gone over -- have we gone over 7 Q. Okay. And that's the same LeadiD as appears
8  Jomaya, Jornaya subpoena response? 8 on Exhibit 8, correct, in the last page of Exhibit 8?
9 MR. POLANSKY: Nao. 9 A. Yes, that's the same.
10 Q. (BY MR. BRODERICK:) Okay. That is what I 10 Q. Okay. And that LeadiD, this -- this response
11 wanted to show you. 11 from Jornaya says that the "Event Date" was 6/21/2019.
12 MR. POLANSKY: Do you want to just mark it as 12. And it has an "IP Address" of 13.66.191.218. And we're
13. Exhibit 8 now so we don't have to go back and forth? 13. talking about on Exhibit 8.
14 MR. BRODERICK: Thank you, Kevin. 14 Now, that’s a different IP address from all
15 (Deposition Exhibit § was marked for 15 the other IP addresses we've discussed; correct?
16 identification.) 16 A. Yes.
17 Q. (BY MR. BRODERICK:) Yeah, so we've marked the 17 MR. POLANSKY: Objection.
18 — Jornaya subpoena response as Exhibit 8. And Mr. Weeks, 18 Q. (BY MR. BRODERICK:) Okay. And do you know
19‘ ['ll represent to you that that is a response from 19 what it means where it says, "TCPA information witnessed
20) Jornaya to a subpoena issued to it in connection with 20°) by TCPA Guardian: TCPA disclosure statement witnessed
21 this case. 21 at the lead event," colon. And it says, "Jornaya cannot
22 And we've already talked about that you don't 22 ~—sverify TCPA disclosure language because a disclosure was
23. have any relationship -- QuoteWizard does not have any 23 not tagged on the website according to Jornaya's
24 relationship with Jornaya. Have you ever seen this 24 standard instructions."
25 response before, Exhibit 8? 25 Do you know what that means?

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1 A. Ido not. 1 Q. -- and tell me when you've done that.
2 Q. And have you ever talked to anyone at Jornaya 2 A. Okay.
3 about that LeadiD or that language? 3 Q. And then pop out of that exhibit and go to
4 A. I have not. 4 Exhibit 2, the QuoteWizard opt in.
5 Q. Okay. And similarly -- no, we've already 3 A. Okay.
6 covered that. 6 Q. And go to the "TCPA Disclosure" that you
7 And having reviewed all of these subpoena 7 copied and pasted from the SnappyAutoInsurance website.
8 responses in this case, is it still Quote -- your 8 A. Uh-huh.
9 position that Mr. Mantha consented to receive 9 Q. Can you tell me if those phone numbers are a
10 telemarketing texts from QuoteWizard? 10. match?
1 MR. POLANSKY: Objection. ll A. Yes, they match.
12 A. It’s our opinion that consent was provided. 12 Q. Okay. So now do you see where it says, right
13 Q. (BY MR. BRODERICK:) And that consent was on 13. before that phone number, "please call
14. SnappyAutolnsurance.com? 14 AutoInsurQuotes.com"?
15 A. According to the email that I received from 15 A. Yes.
16 RevPoint Media, yes. 16 Q. You were asked some questions earlier about
17 MR. BRODERICK: Okay. Allright. Well, I 17 AutoInsurQuotes.com; is that right?
18 don't have anything further. Thank you very much for 18 A. Yes.
19 your time. And I don't know if Kevin has any questions 19 Q. I want you to go back to Exhibit 6 and, if you
20 for you, 20 can, I know this is not the most easy thing, but go back
21 MR. POLANSKY: Ido. I just have a couple. 21 ‘to that page you just had the phone number.
22. =‘ This won't take all but a few minutes, but there are a 22 A. Uh-huh.
23s couple of areas that I want to clarify stuff on. 23 Q. On my screen it comes up as page 16 of 20. I
24 24 ~— don't know what it shows up on yours.
25 25 Under that phone number, do you see where it
Page 63 Page 65
| EXAMINATION 1 says "SnappyAutoInsurance.com"?
2 BY MR. POLANSKY: 2 A. Yes.
3 Q. Okay. So first I want to switch gears and go 3 Q. And then do you see where it says "Copyright
4 back to Exhibit 6. 4 2013"?
5 A. Okay. 3 A. Yes.
6 Q. Now, I understand that you haven't seen this 6 Q. And then on your page is there another
7 document before, but you were asked some questions on | 7 — sentence there?
8 it, specifically as it related to auto insurance quotes. 8 A. Yes.
9 A. Yes, I believe so. 9 Q. Okay. Can you read that sentence to me?
10 Q. I want to go to page I think it's 16 of 20 on 10 A. "Taking advantage of this free Auto Insurance
11 Exhibit 6. And if you scroll to the very bottom of that 11 Quote service is completely optional and will not impact
12 page, it's the last sentence where it says, starts, 12 your ability to win samples, prizing, or sweepstakes."
13. "Taking advantage of..." 13 Q. Okay. So it says "Auto Insurance Quote
14 A. For some reason, the page numbers aren't 14 service." Do you see that?
15 showing up. 15 A. Yes.
16 Oh, here we go. Hold on one sec. 16 Q. Okay. Now, looking at the same page, at the
17 Q. It's the page where it says enter zip code. 17 very top of that page do you see where it looks like
18 A. Okay. 18 there is a website, URL address,
19 Q. Okay? So go to the very bottom of that page. 19 "SnappyAutolnsurance.com"?
20 ‘I'm going to direct you as best I can. It says, “Call 20 A. Yes.
21 ~—« 1-888-920-8495 for your Instant Quote now." 21 Q. And underneath it says "58 captures"?
22 A. Yes. 22 A. Uh-huh.
23 Q. Okay. And so I want to first look at that 23 Q. Do you -- do you understand what those 58
24 phone number. So write down that phone number -- 24 captures are?
25 A. Okay. 25 A. Ido not.
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1 Q. Okay. And do you see the dates 10 March 2014 1 Q. And he provided information to you via email?
2 to September 6, 2019? 2 A. Correct.
3 A. Uh-huh. 3 Q. And you used that information to prepare at
4 Q. And you don't know what those dates are, 4 least a portion of Exhibit 2; is that right?
5 either, I assume; is that correct? 5 A. Yes.
6 A. Ido not. 6 Q. Now, you said the other information came from
7 Q. Okay. Now, you testified earlier that you 7 your data system at Quote Wizard; is that right?
8 — went on to the SnappyAutoInsurance.com website to obtain & A. Yes.
9 the "TCPA Disclosure” that you believe Mr. Mantha would 9 Q. Did QuoteWizard generate any of that
10 have seen; is that correct? 10 information, or is that information that came from
11 A. Yes. 11 RevPoint?
12 Q. Do you know if you went into and entered any 12 A. Itall ultimately came from RevPoint. It's
13 information to get in this form here on page six -- or 13 just I went to our database, because that's where it's
14 Exhibit 6? 14 stored for me.
15 A. Yes. 15 Q. Okay.
16 Q. Okay. So what you're looking at isn't the 16 A. But all this information in this ultimately
17 final form that you saw? 17 came from RevPoint.
18 A. No. 18 Q. So I just want to be clear. So QuoteWizard
19 Q. And again, you don't -- you don't have any 19 didn't create any of this data, you just happened to
20 understanding, sitting here today, what the 58 captures 20 take it from two different sources and put it together;
21 are? 21 right?
22 A. Ido not. 22 A. Correct. The only thing that would have been
23 Q. Earlier you were asked some questions by 23 created by us was the lead purchase date.
24 plaintiff's counsel about when you prepared the Quote -- 24 Q. Okay. And that's the date that you purchased
25 the QuoteWizard data file, the opt in information; is 25 the lead?
Page 67 Page 69
| that right? 1 A. Yeah, the date that our system recognizes that
2 A. Yes. 2 the lead was purchased.
3 Q. And you kept on referring to a “complaint.” 3 MR. POLANSKY: Okay. That might be all I
4 When you say “complaint,” are you referring toademand 4 have. Just give me one second to go over my notes.
5 letter, or are you referring to a complaint that was 5 That's all I have.
6 filed in this lawsuit? 6 MR. POLANSKY: Ted, do you have any questions?
7 A. Imay have misspoke. It was the original 7 EXAMINATION
8 demand letter that we got. 8 BY MR. BRODERICK:
9 Q. Okay. So after -- so if I understand 9 Q. With the document that is Exhibit 2, the
10 correctly, after receiving that demand letter, that's 10  QuoteWizard opt in, you said you did it in Word, Would
11 when you reached out to RevPoint for the consent 11 that document have a created-on date?
12 information? 12 A. I don't know.
13 A. Yes. 13 Q. When you look at "Properties" -- do you know
14 Q. So you were using "complaint" to mean demand | 14 how to do that?
15 letter, just to be clear for the record? 15 A. I'd have to - are you asking me to open up my
16 A. Yeah. L apologize. I'm not a lawyer. 16 original file?
17 Q. Okay. Going back to Exhibit 2, which is the 17 Q. Do you still have it in Word?
18 QuoteWizard opt in, and I think you cleared this up but | 18 A. [believe so,
19 [just want to make sure the record is clear. 19 Q. [have the impression you weren't sure on the
20 Now, after receiving that demand letter, you 20 date when I asked you about when it was created. Are
21 reached out to Michael Fishman at QuoteWizard; is that | 21 you — do you know when you received the demand letter?
22s right? 22 A. I'd have to check emails for that. [ don't
23 A. Of RevPoint. 23 know off the top of my head.
24 Q. Oh, excuse me, of RevPoint. 24 Q. And do you know when the complaint was filed?
25 A. Yeah. 25 A. Ido not.
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| Q. And when I say the "complaint," I mean a 1 REPORTER'S CERTIFICATE
2 complaint in court as opposed to a demand letter. 2 I, CHERYL ©. SPRY, the undersigned Certified Court
3 A. I don't. 3 Reporter, pursuant to RCW $.28.010, authorized to
4 Q. Okay. But is that something that if we go 4 administer oaths and affirmations in and for the State
5 through counsel we could find out, you know, look at the| 5 of Washington, do hereby certify that the swom
6 date on the Word document, when it was created, meaning © — tstimony and/or proceedings, a transcript of which is
7 youright click on "Properties" and it tells you when it 7 attached, was given before me at the time and place
8 was originally created and then when it was -- when it | & Stated therein; that any and/or all witness(es) were by
9 was sort of last modified? 9 — me duly sworn to testify to the truth; that the sworn
10 A. I mean, if you're asking me to do that, I can 10 testimony and/or proceedings were by me stenographically
11 try and do that 11 recorded and transcribed under my supervision, to the
12 MR. POLANSKY: We'll have you go through | ?_Pestof my ability: that the foregoing transcript
B | for that. but 13 contains a full, true, and accurate record of all the
counsel for that, but...
14 MR. BRODERICK: Right. Yeah. I don't mean to 14 sworn testimony and/or proceedings given and occurring
15 . I , k th . fl ~ , 15 at the time and place stated in the transcript; that a
6 give RHE WITNESS. Oka y: 16 review of which was requested; that I am in no way
I Ss: y- . . 17 related to any party to the matter, nor to any counsel,
17 MR. BRODERICK: Okay. All right. Well, with 18 nor do | have any financial interest in the event of the
18 that, I don't have -- yeah, l don't have anything else. 19 cause.
19 And I appreciate your patience with the technical snafus 20 WITNESS MY HAND AND DIGITAL SIGNATURE THIS 4th day
20 here. 21 of AUGUST, 2020.
21 THE WITNESS: Nota problem. » ly 0
22 MR. POLANSKY: That's great. Thank you, 2B luge . pry
23 Matthew. 24 CHERYL ©.SPRY >
24 MR. BRODERICK: Thank you very much. Washington State Certified Court Reporter No. 2226
25 THE VIDEOGRAPHER: This is the end of the 25
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|  30(b)(6) deposition of QuoteWizard.com represented by 1 Kevin Polansky, Esq.
2 Matthew Weeks. We are going off the record at 2 kevin.polansky@nelsonmullins.com
3. approximately 4:57 p.m. in the Eastern Time Zone. 3 August 4, 2020
4 (Deposition recessed at 4:57 p.m.) 4 RE: Mantha, Joseph v. Quotewizard.Com, LLC
5 (Signature was reserved.) 5 7/22/2020, Matthew Weeks (#4182716)
6 6 The above-referenced transcript is available for
7 7 review.
8 8 Within the applicable timeframe, the witness should
9 9 read the testimony to verify its accuracy. If there are
10 10 any changes, the witness should note those with the
11 11 reason, on the attached Errata Sheet.
12 12. The witness should sign the Acknowledgment of
13 13 Deponent and Errata and return to the deposing attorney.
14 14 Copies should be sent to all counsel, and to Veritext at
15 15 cs-ny(@veritext.com.
16 16
17 17 Return completed errata within 30 days from
18 18 receipt of testimony.
19 19 Ifthe witness fails to do so within the time
20 20 allotted, the transcript may be used as if signed.
21 21
22 22 Yours,
23 23 Veritext Legal Solutions
24 24
25 25
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Matthew Weeks Date

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ACKNOWLEDGEMENT OF DEPONENT
I, Matthew Weeks, do hereby declare that I
have read the foregoing transcript, I have made any
corrections, additions, or changes I deemed necessary as
noted above to be appended hereto, and that the same is
a true, correct and complete transcript of the testimony

given by me.

Matthew Weeks Date

*Tf notary is required
SUBSCRIBED AND SWORN TO BEFORE ME THIS
_____sSDAY OF 2200.

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